Case 1:18-cv-00476-PEC Document 34 Filed 02/08/19 Page 1 of 4

In the Gnited States Court of Federal Clans

No. 18-476L

(Filed: February 8, 2019)

 

THOMAS G. LANDRETH,

Plaintiff,

Motion for Leave to Appear as Amicus

Vv. :
Curiae.

THE UNITED STATES,

Defendant.

de ee ee

 

Thomas G. Landreth, Hoquiam, WA, pro se.

Isaac B. Rosenberg, Trial Attorney, with whom were Joseph H. Hunt, Assistant Attorney
General, Robert E. Kirschman, Jr., Director, L. Misha Preheim, Assistant Director,
Commercial Litigation Branch, Civil Division, United States Department of Justice,
Washington, DC, for defendant.

 

OPINION
CAMPBELL-SMITH, Judge.

On December 3, 2018, the Quinault Indian Nation (the Nation) filed a motion
seeking leave to appear as amicus curiae in this matter. See ECF No. 18. In evaluating
the Nation’s motion, the court considered: (1) the Nation’s motion to appear as amicus
curiae, ECF No. 18; (2) plaintiffs response, ECF No. 19; (3) defendant’s response, ECF
NO. 20; (4) plaintiff's supplemental response, ECF No. 24; (5) plaintiff's second
supplemental response, ECF No. 25; and (6) the Nation’s reply in support of its motion,
ECF No. 30. For the following reasons, the Nation’s motion is DENIED.

I, Background

Plaintiff is a resident of Washington state “who owns private property abutting
Lake Quinault ... within the boundary of the Olympic National Park.” ECF No. 12 at 5.

 
Case 1:18-cv-00476-PEC Document 34 Filed 02/08/19 Page 2 of 4

In his amended complaint, plaintiff summarizes the facts of this case and the relief he
seeks as follows:

Under State and Federal law Lake Quinault, a navigable waterway abutting
the Quinault Indian Reservation and located in Washington State, should be
open to the public for its use and recreation as well as to those non-tribal
property owners with real property abutting the Lake shore such as the
plaintiff. However for more than a decade the Quinault Indian Tribe has
increasingly asserted “jurisdiction” and control over this navigable
waterway, forcing out the public and non-tribal property owners in
derogation of the Equal Footing Doctrine, Public Trust Doctrine,
Constitution of the United States, treaties with foreign nations and the 1856
Treaty of Olympia. In April of 2013, the Quinault Indian Tribe has restricted
all uses of the lake for non-tribal members. Through this civil action, the
Plaintiff's seek court determination as to the status of Lake Quinault and the
property rights of non-tribal property owners abutting the lake, the court
determination as to the public’s right to access of the lake, its shore and
lakebed.

Id. at 2-3.

The Nation seeks the court’s leave to appear as amicus curiae in order to “provide
additional factual and legal context for the Court concerning the status of Lake Quinault
and the substantial interests of the Nation that are implicated by this proceeding.” ECF
No. 18 at 1. Specifically, the Nation alleges that it is uniquely positioned to address “the
ownership and significance of the Lake to the Nation, and the nature and importance of
its regulatory activities.” Id. at 3.

Defendant consents to the Nation’s appearance as amicus curiae, see ECF No. 20,
but plaintiff objects. In response to the Nation’s request, plaintiff argues that “[t]o allow
amicus cur[iae] to the [Nation] and deprive all people the opportunity to amicus cur[iae]
seems to be unfair dealing. It would be impossible to enjoin every person that has and
potentially will be harmed by the actions of the [Nation].” ECF No. 19 at 9. Plaintiff
also appears to labor under the impression that granting the Nation’s request would result
in a dismissal of this case; he suggests instead that the Nation has an interest in the case
that would support its joinder as a party to this action. See ECF No. 24 at 2.

In its reply in support of its motion, the Nation presents counter-arguments to
plaintiff's concerns regarding dismissal and joinder. See ECF No. 30 at 1-4. The Nation
then restates its interest in appearing as amicus curiae, as follows:

The Nation has provided unique information regarding the importance of
Lake Quinault to the preservation of the Quinault River sockeye .. . to the

 
Case 1:18-cv-00476-PEC Document 34 Filed 02/08/19 Page 3 of 4

cultural and economic needs of the Quinault people. It has also demonstrated
the importance of Lake Quinault to the preservation of that species, and
informed the Court about its ongoing efforts to preserve the habitat offered
by the Lake....

Id. at 4-5,
I. Legal Standards

“There is no right to file an amicus brief in this court; the decision whether to
allow participation by amici curiae is left entirely to the discretion of the court.” Fluor
Corp. v. United States, 35 Fed. Cl. 284, 285-86 (1996) (citing Am. Satellite Co. v. United
States, 22 Cl. Ct. 547, 549 (1991)). In ruling on a motion for leave to file an amicus
brief, the court considers the following factors: objections from the opposing party,
interest of the moving party, partisanship on the part of the amici, adequacy of the
movant’s representation, and timeliness. See id. The court may also consider whether
the additional argument is useful to the court’s analysis, and whether participation of the
amici would cause unnecessary delay. See Health Republic Ins. Co. v. United States, 129
Fed. Cl. 115, 117 (2016).

 

HI. Analysis

The court is convinced by the Nation’s briefs that it has a unique perspective on
the use and value of Lake Quinault. The court also recognizes that plaintiff's amended
complaint, to a great degree, involves allegations against the Nation. See generally ECF
No. 12. The Nation’s views, however, are not useful to the court at this stage of the
proceeding. Defendant has filed a motion to dismiss in which it challenges both this
court’s jurisdiction and the legal sufficiency of plaintiff's allegations. See ECF No. 18.
To the extent that the Nation is able to provide insight into material aspects of this case,
the court finds that it will not benefit from such insight in reaching its ruling on the legal
sufficiency of plaintiff's complaint.

As such, the court will deny the Nation’s motion at this time. If, however,
plaintiff's complaint survives defendant's motion to dismiss, the court is willing to
reconsider the Nation’s involvement in this matter—whether that be as an amicus or as a

party.
IV. Conclusion

For the foregoing reasons, the Nation’s motion, ECF No. 18, is DENIED. If the
court denies defendant’s motion to dismiss, the Nation may reassert its interest in the
merits determination in this case.

 
Case 1:18-cv-00476-PEC Document 34 Filed 02/08/19 Page 4 of 4

IT IS SO ORDERED.

otra € (Au Prr tA
PATRICIA E. CAMPBELL-SMITH ,
Judge

 
